Case 2:20-cv-05844-MSG Document 19-7 Filed 04/17/21 Page 1 of 9




                 Exhibit G
       Case 2:20-cv-05844-MSG Document 19-7 Filed 04/17/21 Page 2 of 9




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JON FREY,

                      Plaintiff,

              v.                                           Civil Action No. 19-2372-KSM

FRONTIER UTILITIES NORTHEAST LLC and
ENERGY ACQUISITIONS GROUP LLC,

                      Defendants.




                       PLAINTIFF’S CLASS ACTION CHECKLIST


  I.      Class Definition

       All persons in the United States to whom Frontier or anyone acting or purporting
       to act on Frontier’s behalf made or tried to make any of the following calls
       between March 31, 2015, and the date of preliminary approval:

              (a)     one or more calls made using an automatic telephone dialing
                      system, dialing platform, or other dialing equipment, to a number
                      assigned to any paging service, cellular telephone service,
                      specialized mobile radio service, radio common carrier service, or
                      service for which the called party is charged for the call;

              (b)     one or more calls initiated using an artificial or prerecorded voice;
                      and/or

              (c)     one or more calls to a telephone number while it was on the
                      national Do-Not-Call Registry, a state Do-Not-Call Registry, or
                      Frontier’s internal do-not-call list.

       Excluded from the Settlement Class are: (1) the Judges and Magistrate Judges
       presiding over the Actions and members of their immediate families; (2) the
       Defendants, their parent companies, successors, predecessors, and any entities in
       which the Defendants or their parents have a controlling interest, and Defendants’
      Case 2:20-cv-05844-MSG Document 19-7 Filed 04/17/21 Page 3 of 9




      current and former officers and directors; (3) persons who properly execute and
      timely file a request for exclusion from the class; and (4) the legal representatives,
      successors, or assigns of any such excluded person(s).

      The settlement agreement will define “Calls” to include both telephone calls and
      text messages.


         A. Define the Class Period

         Done above

         B. Define the Members of the Class

         Done above

         C. Estimated Class size

         Since the call centers used by Frontier’s vendors are, in part, located overseas, it’s not
         currently viable to definitively state the size of the class.

         D. Possible sub-classes

         None.

II.      Form and Scope of Release
         A. Define claims to be released

         Released Claims. Any and all claims, causes of action, suits, obligations, debts,
         demands, agreements, promises, liabilities, damages, losses, controversies, costs,
         expenses, and attorneys’ fees of any nature whatsoever, whether based on any federal
         law, state law, common law, territorial law, foreign law, contract, rule, regulation, any
         regulatory promulgation (including, but not limited to, any opinion or declaratory
         ruling), common law or equity, whether known or unknown, suspected or
         unsuspected, asserted or unasserted, foreseen or unforeseen, actual or contingent,
         liquidated or unliquidated, punitive or compensatory, of every nature and description
         whatsoever, as of the date of the Final Approval Order, that arise out of or relate in
         any way to the Released Parties’ use of any telephone, any telephone or dialing
         equipment, text message or other messaging system, any dialing systems or tools, an
         “automatic telephone dialing system,” or an “artificial or prerecorded voice” to
         contact or attempt to contact Members of the Settlement Class. This release expressly
         includes, but is not limited to, all claims under the Telephone Consumer Protection
         Act, 47 U.S.C. § 227, et seq. (the “TCPA”), the TCPA’s implementing regulations,
         47 C.F.R. § 64.1200, et seq., the Telemarketing Sales Rule, 16 C.F.R. § 310, et seq.

                                                2
    Case 2:20-cv-05844-MSG Document 19-7 Filed 04/17/21 Page 4 of 9




       (the “TSR”), any corollary or state laws similar to the TCPA and TSR, or enactment
       of any other statutory, regulatory or common law claim arising thereunder.



       B. Claims raised in the complaint

       Claims raised in both complaints are included.

       C. Other claims

       This release captures the nexus of telemarketing contact by, or on behalf of, Frontier.

       D. Identify parties to be released

           Releasing Parties. Plaintiffs and the Members of the Settlement Class (whether
           or not such Members submit Claim Forms), and their respective assigns, heirs,
           successors, predecessors, parents, subsidiaries, officers, directors, shareholders,
           members, managers, partners, principals, representatives, and employees (each
           solely in their respective capacity as such), and all those who claim through them
           or who assert claims (or could assert claims) on their behalf.



           Released Parties. Frontier and each of its past, present, and future members,
           owners, direct and indirect parents, subsidiaries, managers, divisions,
           predecessors, successors, holding companies, and affiliated companies and
           corporations, and each of the past, present, and future directors, officers,
           managers, employees, contractors, general partners, limited partners, investors,
           controlling persons, owners, trustees, principals, agents, associates,
           administrators, insurers, reinsurers, shareholders, attorneys, accountants, advisors,
           consultants, assignors, assignees, representatives, fiduciaries, predecessors,
           successors, divisions, joint ventures, or related entities of those companies
           including, but not limited to, the vendors, subvendors, contractors, subcontractors,
           and service providers retained to make calls (or which was involved in making
           calls for which another of the Released Parties). The release of any third parties is
           limited to any actions taken on behalf of Frontier.



       E. Exceptions to release, if any

        The proposed release is consistent with what the parties have discussed in their prior
settlement discussions. However, the Plaintiffs have added (and previously raised) the need
for limiting language that made clear that the release of any third parties is limited to any

                                             3
       Case 2:20-cv-05844-MSG Document 19-7 Filed 04/17/21 Page 5 of 9




actions taken on behalf of Frontier Utilities. The reason for this is two-fold and mutually
beneficial. First, the Plaintiffs will not want to impact other non-Frontier litigation that may
involve the same third party vendors Frontier used for calling. For instance, as explained in
our demand letter, Plaintiffs’ counsel (and Mr. Perrong) have a pending case against Sperian
Energy that has an overlap in vendors. Furthermore, this would invite objectors. Second, from
Frontier’s perspective, they almost certainly don’t want to pay for a release that could benefit
their competitors.



III.     Monetary Relief or Other Consideration
         A. Fund Case

         The Plaintiffs have proposed a             common fund.

                1. Payments to class

                    Included.

                2. Cost of notice

                    Included.

                3. Cost of administration

                    Included.

                4. Attorney’s fees

                    Included.

                5. Incentive award

                    Included.

                6. Other

                    N/A

         B. Non-Fund Case

         N/A


                                             4
       Case 2:20-cv-05844-MSG Document 19-7 Filed 04/17/21 Page 6 of 9




IV.      Reverter or No Reverter to Defendants: N/A
         A. What happens to unclaimed funds
         B. Possible second round of distributions
         C. Setting a floor alternative

V.       Cy Pres
         A. What portion of unclaimed funds, if any

         The Plaintiffs believe that after a second round of distributions to claimants, a Cy
         Pres payment should be made.

         B. Type of organization to receive funds

         The National Consumer Law Center, who focuses on consumer related issues,
         including privacy rights and the TCPA.

VI.      Non-Monetary Relief
         A. Stop existing practice

              The Plaintiffs believe that a subsequent remedial measure statement should be
              made in the settlement agreement that will allow the parties to explain to the
              Court how it is unlikely that Frontier’s vendors will receive telephone numbers
              that are on the National Do Not Call List for contact.

         B.   New practices
         C.   Agreement to make change
         D.   Injunctive relief: N/A
         E.   Other

VII.     Administration
         A. Third Party Administrator

              The parties have preliminarily agreed to use KCC, a third party administrator with
              experience in deregulated energy TCPA class action settlements.

         B. Party Administrator: N/A
         C. Costs – Out of Fund or an extra

              Out of the Fund


                                               5
      Case 2:20-cv-05844-MSG Document 19-7 Filed 04/17/21 Page 7 of 9




VIII. Form of Notice
      A. Are there lists or other means of class identification

           Direct e-mail notice will be sent to customers of Frontier during the putative class
           period that were acquired by telemarketing vendors.

        B. Mail

           For any customers of Frontier during the putative class period that were acquired
           by telemarketing vendors where an e-mail address is either (a) unavailable or (b)
           bounces back/is rejected, direct mail notice will be sent.

        C. Internet

           The administrator will develop and maintain a case-specific settlement website
           during the administration of the settlement.

        D. Publication

           Due to the fact that calling data has been lost or is overseas, regionalized (where
           Frontier offers services), internet based publication notice will be necessary.

        E. Estimate of cost of notice

           The Plaintiffs are unable to estimate the cost of notice without knowing the
           amount of individuals who will have e-mail notice attempted to be sent to them.

        F. Costs – Out of fund or an extra

           Out of fund.

IX.     Claims Process
        A. Claims Made: N/A
              1. Estimated claims rate
              2. Estimate of payment per claim
        B. No Claim Necessary

           Due to the unavailability of calling records, a claims process is necessary.

        C. Pro rata distribution

                                             6
       Case 2:20-cv-05844-MSG Document 19-7 Filed 04/17/21 Page 8 of 9




            Each valid claimant will receive a pro rata distribution.

         D. Tax treatment

            In the unlikely event that each claimant receives more than $599, the
            administrator will be responsible for distributing the appropriate tax forms.

X.       Opt-Outs
         A. Possible blow up provision in the event of ___% or ___ number of opt outs

            The Plaintiffs do not believe any such provision is necessary.

XI.      Possible Objectors – Anticipate issues

            Focusing the settlement on a non-reversionary fund and ensuring that there are
            proper protections against Fraud for publication claimants will be important to
            avoid objections.

XII.     Attorney’s Fees -- Will be discussed at the end of negotiations, but no clear
         sailing provision required.
         A. When to discuss –
         B. Amount – Percentage or Specific Number
         C. Past practice by Plaintiffs’ counsel

XIII. Incentive Award to Named Plaintiffs -- Will be discussed at the end of
      negotiations, but no clear sailing provision required.
      A. When to discuss
      B. Amount
      C. Past practice by Plaintiffs’ counsel

XIV. Confirmatory Discovery – None necessary
     A. Is it necessary
     B. If so, what is the scope and methods of discovery

XV.      Approval Process
         A. Federal
         B. State
         C. Know Your Judge



                                              7
    Case 2:20-cv-05844-MSG Document 19-7 Filed 04/17/21 Page 9 of 9




           The settlement will be submitted for approval in Federal court and the parties
           should discuss which Court it should be submitted to. Indeed, the Court in Frey
           appears to have experience is resolving only one class action and has closely
           scrutinized a number of factors that are atypical to see, especially at the
           preliminary approval stage. See Wood v. Saroj & Manju Invs. Phila., LLC, 2020
           U.S. Dist. LEXIS 243700 (E.D. PA., December 28, 2020) (15-page decision on
           preliminary approval for a $250,000 FLSA settlement. This followed an
           instruction from the Court to file an amended motion following the first
           preliminary approval hearing). The Perrong Court has a much longer and broader
           base of experience in dealing with class actions including extremely complex
           settlements and may be in a better position to facilitate a resolution in a more
           timely and efficient manner. See, e.g., Vista Healthplan, Inc. v. Cephalon, Inc.,
           E.D.Pa. No. 2:06-cv-1833, 2020 U.S. Dist. LEXIS 69614 (Apr. 20, 2020);
           California v. Teva Pharmaceutical Industries, E.D.Pa. No. 19-3281, 2020 U.S.
           Dist. LEXIS 102992 (June 10, 2020); King Drug Co. of Florence v. Cephalon,
           Inc., E.D.Pa. , 2015 U.S. Dist. LEXIS 197311 (Oct. 15, 2015); Alvarez v. BI Inc.,
           E.D.Pa. No. 16-2705, 2020 U.S. Dist. LEXIS 60656 (Apr. 6, 2020); Wahpoe v.
           Staffmore LLC, E.D.Pa. No. 19-1268, 2020 U.S. Dist. LEXIS 169314 (Sep. 16,
           2020).



XVI. Steps Necessary to Obtain Preliminary Approval by the Court
     A. Settlement agreement – if the parties are able to reach an agreement at the
        mediation, they will do so with a binding and enforceable term sheet. From the
        date of signature, the Plaintiffs will prepare a settlement agreement within seven
        days for Frontier’s review and the parties agree that the agreement will be
        submitted to the Court within 14 days after that, along with the preliminary
        approval motion.
     B. Motion for preliminary approval – See above.
     C. Reference to the mediation – Yes.




                                           8
